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                                     #:17560



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16                    UNITED STATES DISTRICT COURT
17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19    JENNY LISETTE FLORES; et al.,           Case No. CV 85-4544-DMG
20                                            [Proposed]
             Plaintiffs,
21
                                              ORDER GRANTING LIMITED
22                v.                          RELIEF FROM FLORES
23
                                              SETTLEMENT AGREEMENT
      JEFFERSON B. SESSIONS III,
24    Attorney General of the
                                              [Hon. Dolly M. Gee]
25    United States; et al.,
26
             Defendants.
27
28
     Case 2:85-cv-04544-DMG-AGR Document 435-3 Filed 06/21/18 Page 2 of 2 Page ID
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1          THIS CAUSE comes before the Court upon the Defendants’ Ex Parte

2    Application for Limited Relief From Settlement Agreement.
3
           UPON CONSIDERATION of Defendants’ Application, and for the reasons
4
5    set forth therein, the Court hereby ORDERS that Defendants are granted limited
6
     relief from the Flores Settlement Agreement. Specifically, the Court:
7
8             1. Provides a limited exemption from its interpretation of the Flores
                 Settlement Agreement’s release provisions so that ICE may detain
9                alien minors who have arrived with their parent or legal guardian
10               together in ICE family residential facilities pending immigration
                 proceedings;
11
12            2. Exempts ICE family residential facilities from the Agreement’s state
13               licensure requirement.
14
15   IT IS SO ORDERED.
16
     DATED: _____________, 2018.
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19                                         THE HONORABLE DOLLY M. GEE
                                           UNITED STATES DISTRICT JUDGE
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